        Case 2:15-cv-05032-LMA-JCW Document 43 Filed 09/06/16 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


DUSTIN R. JACOBSEN                                                         CIVIL ACTION

VERSUS                                                                         No. 15-5032

HOBNOBBER’S VARIETY BAR, INC. ET AL.                                           SECTION I


                                              ORDER

         Considering the joint motion 1 for a dismissal with prejudice,

         IT IS ORDERED that the motion is DENIED AS MOOT. All claims in this action were

already dismissed with prejudice. 2



         New Orleans, Louisiana, September 1, 2016.



                                                   _______________________________________
                                                             LANCE M. AFRICK
                                                      UNITED STATES DISTRICT JUDGE




1
    R. Doc. No. 42.
2
    R. Doc. No. 41.
